                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012-7
v.                                            )   Judge Sharp
                                              )
QUINICE CROSS                                 )
                                              )


                                          ORDER



         Pending before the Court is Defendant’s Motion to Set Exhibit Conference (Docket No.

1592).

         The motion is GRANTED and the conference is hereby scheduled for Thursday, June 27,

2013, at 3:00 p.m.

         IT IS SO ORDERED.



                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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